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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF LOUISIANA

Owens, et al.

 

 

 

Plaintiff

3:21-cv-00242
“ Civil Action No.
LSU Board of Regents, et al.
Defendant

CERTIFICATE OF INTERESTED PERSONS

Pursuant to Local Civil Rule 7.1,

Plaintiffs Owens, Lewis, Brennan, Richardson, Andries, Johnson, Doe, Robertson, Kitch, and Hovis

 

provides the following information:

A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:

*Please separate names with a comma. Only text visible within box will print.

Plaintiffs Abigail Owens, Jade Lewis, Samantha Brennan, Elisabeth Andries, Kennan Johnson, Jane Doe,
Ashlyn Robertson Mize, Sarah Beth Kitch, and Corinn Hovis.

Defendants LSU, LSU Board of Supervisors, Verge Ausberry, Miriam Segar, Jennie Stewart, and Jonathan
Sanders.

Law firms Elizabeth Abdnour Law, PLLC; Katie Lasky Law, LLC; and Temperance Legal Group, PLLC.

Plaintiffs believe there may be other individuals and entities who may be financially interested in the
outcome of the case that Plaintiffs do not have direct knowledge of, including but not limited to
Defendants' insurers, LSU employees, Tiger Athletic Foundation, LSU donors, the State of Louisiana, and
Louisiana taxpayers.

 
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Date: December 8, 2022

Signature: Aw (L12—

Print Name: Elizabeth K. Abdnour

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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil =>
Notices => Certificate of Interested Persons.

 
